                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TENNESSEE
                                 KNOXVILLE – COURTROOM 1A

 Case #: 1:22-cv-18                                                       Date: June 24, 2024

               Sandra Affare                       Y University of Tennessee

   3UHVHQW%HIRUH Honorable Charles E. Atchley, Jr., United States District Judge



   &RXUWURRP 'HSXW\                  Court Reporter                  /DZ&OHUN
   Rachel Stone                       DCR


   AWWRUQH\ V IRU3ODLQWLII         $WWRUQH\ V IRU'HIHQGDQW $GGLWLRQDO$WWRUQH\ V 3UHVHQW
   James W. Friauf                    T. Harold Pinkley, Jr.
                                      Caitlyn Leudtke Elam




   3URFHHGLQJV
   The Court conducted a Final Pretrial Conference in this matter.




 Dates set at this hearing:                                                    DHDGOLQHV set at this hearing:
   -XU\7ULDO %HQFK7ULDO                                                  6WDWXV5HSRUW
                                                                                 6KRZ&DXVH
   Pretrial Conf.:                                                               2WKHU
   0RWLRQ+UQJ
   6WDWXV&RQI

7LPH 1:30            WR 2:30
               ,Rachel Stone    'HSXW\&OHUN&(57,)<WKHRIILFLDOUHFRUGRIWKLVSURFHHGLQJLVDQDXGLRILOH
                .QR['&5B 122cv18    B 20240624 B 134104

Case 1:22-cv-00018-CEA-CHS Document 84 Filed 06/24/24 Page 1 of 1 PageID #: 324
